18-13648-smb          Doc 548        Filed 03/25/19 Entered 03/25/19 14:09:42 Main Document
                                                   Pg 1 of 24
                                            Hearing Date and Time: April 9, 2019 at 10:00 a.m. (Eastern Time)
                                                     Objection Deadline: April 2, 2019 at 4:00 p.m. (Eastern Time)

 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007
 Gary T. Holtzer
 Robert J. Lemons
 Kelly DiBlasi

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 --------------------------------------------------------x
                                                         :
 In re                                                   :         Chapter 11
                                                         :
 WAYPOINT LEASING                                        :         Case No. 18-13648 (SMB)
 HOLDINGS LTD., et al.,                                  :
                                                         :         (Jointly Administered)
                   Debtors. 1                            :
 --------------------------------------------------------x


                       NOTICE OF MOTION OF DEBTORS PURSUANT TO
                      11 U.S.C. § 1121(d) TO EXTEND EXCLUSIVE PERIODS

                   PLEASE TAKE NOTICE that a hearing on the annexed Motion, dated March

 25, 2019 (the “Motion”), of Waypoint Leasing Holdings Ltd. and certain of its subsidiaries and

 affiliates, as debtors and debtors in possession in the above-captioned cases (collectively,

 the “Debtors”), for entry of an order pursuant to section 1121(d) of title 11 of the United States

 Code extending the Debtors’ exclusive periods in which to file a chapter 11 plan and solicit

 acceptances thereof, all as more fully set forth in the Motion, will be held before the Honorable

 Stuart M. Bernstein, United States Bankruptcy Judge, at the United States Bankruptcy Court for


 1
   A list of the Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
 identification number, is attached hereto as Exhibit A.
18-13648-smb      Doc 548     Filed 03/25/19 Entered 03/25/19 14:09:42          Main Document
                                           Pg 2 of 24


 the Southern District of New York, Courtroom 723, One Bowling Green, New York, NY 10004

 (the “Bankruptcy Court”), on April 9, 2019 at 10:00 a.m. (Eastern Time) (the “Hearing”).

               PLEASE TAKE FURTHER NOTICE that any responses or objections

 (“Objections”) to the Motion shall be in writing, shall conform to the Federal Rules of

 Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District of New York,

 and shall be filed with the Bankruptcy Court (a) by attorneys practicing in the Bankruptcy Court,

 including attorneys admitted pro hac vice, electronically in accordance with General Order

 M‒399 (which can be found at http://www.nysb.uscourts.gov), or (b) by all other parties in

 interest, on a CD-ROM, in text-searchable portable document format (PDF) (with a hard copy

 delivered directly to the chambers of the Bankruptcy Court), in accordance with the customary

 practices of the Bankruptcy Court and General Order M‒399, to the extent applicable, and served

 in accordance with General Order M-399 and the Final Order Pursuant to 11 U.S.C. §105(a)

 and Fed. R. Bankr. P. 1015(c), 2002(m), and 9007 Implementing Certain Notice and Case

 Management Procedures [ECF No. 155] (the “Case Management Order”), so as to be received

 no later than April 2, 2019 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).

               PLEASE TAKE FURTHER NOTICE that notice of this Motion will be

 provided in accordance with the procedures set forth in the Case Management Order.

               PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

 served with respect to the Motion, the Debtors may, on or after the Objection Deadline, submit to

 the Bankruptcy Court an order substantially in the form of the proposed order annexed to the

 Motion, which order may then be entered with no further notice or opportunity to be heard.




                                                2
18-13648-smb   Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42   Main Document
                                      Pg 3 of 24


 Dated: March 25, 2019
        New York, New York

                                      /s/ Kelly DiBlasi
                                      WEIL, GOTSHAL & MANGES LLP
                                      767 Fifth Avenue
                                      New York, New York 10153
                                      Telephone: (212) 310-8000
                                      Facsimile: (212) 310-8007
                                      Gary T. Holtzer
                                      Robert J. Lemons
                                      Kelly DiBlasi

                                      Attorneys for Debtors
                                      and Debtors in Possession




                                        3
18-13648-smb          Doc 548        Filed 03/25/19 Entered 03/25/19 14:09:42 Main Document
                                                   Pg 4 of 24
                                            Hearing Date and Time: April 9, 2019 at 10:00 a.m. (Eastern Time)
                                                     Objection Deadline: April 2, 2019 at 4:00 p.m. (Eastern Time)

 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 Telephone: (212) 310-8000
 Facsimile: (212) 310-8007
 Gary T. Holtzer
 Robert J. Lemons
 Kelly DiBlasi

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 --------------------------------------------------------x
                                                         :
 In re                                                   :         Chapter 11
                                                         :
 WAYPOINT LEASING                                        :         Case No. 18-13648 (SMB)
 HOLDINGS LTD., et al.,                                  :
                                                         :         (Jointly Administered)
                   Debtors. 1                            :
 --------------------------------------------------------x

                              MOTION OF DEBTORS PURSUANT TO
                      11 U.S.C. § 1121(d) TO EXTEND EXCLUSIVE PERIODS

 TO THE HONORABLE STUART M. BERNSTEIN,
 UNITED STATES BANKRUPTCY JUDGE:

                   Waypoint Leasing Holdings Ltd. and certain of its subsidiaries and affiliates, as

 debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned chapter

 11 cases (collectively, the “Chapter 11 Cases”), respectfully represent as follows in support of

 this motion (the “Motion”):




 1
   A list of the Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
 identification number, is attached hereto as Exhibit A.
18-13648-smb          Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42          Main Document
                                             Pg 5 of 24


                                         Relief Requested

                 1.      Section 1121(b) of the Bankruptcy Code provides for an initial period of

 120 days after the commencement of a chapter 11 case during which a debtor has the exclusive

 right to file a chapter 11 plan (the “Exclusive Filing Period”). Section 1121(c)(3) of the

 Bankruptcy Code provides that if a debtor files a plan within the 120-day Exclusive Filing

 Period, it has an exclusive period of 180 days after the commencement of the chapter 11 case to

 obtain acceptances of its plan (the “Exclusive Solicitation Period”).        The Debtors’ initial

 Exclusive Filing Period and Exclusive Solicitation Period are currently set to expire on March

 25, 2019 and May 24, 2019, respectively (together, the “Exclusive Periods”).

                 2.      The Debtors request, pursuant to section 1121(d) of the Bankruptcy Code,

 a modest extension of 45 days of the Exclusive Filing Period to and including May 9, 2019 and

 the Exclusive Solicitation Period to and including July 8, 2019, without prejudice to the Debtors’

 right to seek additional extensions of such periods. A proposed form of order is annexed hereto

 as Exhibit B.

                 3.      An extension of the Exclusive Periods in these large Chapter 11 Cases as

 requested is appropriate, is in the best interest of the Debtors’ economic stakeholders, and is

 consistent with the intent and purpose of chapter 11 of the Bankruptcy Code. Ample cause exists

 to grant the Debtors the extensions of the Exclusive Periods as, inter alia, (i) the Debtors’ cases

 are large and complex, involving a number of different creditor constituencies and to date have

 been focused on implementing going concern sales of the Debtors’ complex business enterprise;

 (ii) substantial good faith progress has been made in the administration of the Chapter 11 Cases

 and in establishing constructive working relationships with the Debtors’ creditors and other key

 economic stakeholders; (iii) although preliminary discussions have commenced with respect to

 terms of a chapter 11 plan, there has not been sufficient time to permit the Debtors to further
                                                 5
18-13648-smb         Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42            Main Document
                                            Pg 6 of 24


 advance those discussions with the various constituencies toward the hopeful achievement of a

 consensual plan; and (iv) an extension of the Exclusive Periods will allow the plan negotiation

 process to proceed in a rational manner, will not prejudice any parties in interest, and will

 promote the ability of the Debtors to maximize value and emerge from chapter 11 in order to

 complete an orderly and efficient wind down and liquidation.

                4.      Extensions of the Exclusive Periods are warranted and appropriate given

 the foregoing reasons, and taking into account that this is the Debtors’ first (and hopefully final)

 request. As Debtors’ counsel has advised, the Debtors are working with their creditors to

 negotiate a plan and hope to be in a position to file it well in advance of the requested May 9,

 2019 extended deadline. The relief requested will afford the Debtors the full and fair opportunity

 contemplated by Congress for the Debtors to develop a viable, fair, and comprehensive plan and

 also negotiate, propose, and solicit acceptances of that plan in an efficient manner that will

 maximize value for all parties in interest.

                                               Jurisdiction

                5.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

 before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               Background

                6.      On November 25, 2018 (the “Petition Date”), the Debtors each

 commenced with this Court a voluntary case under chapter 11 of the Bankruptcy Code. The

 Debtors continue to operate their business and manage their properties as debtors in possession

 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.            No trustee, examiner, or

 statutory committee of creditors has been appointed in these Chapter 11 Cases.



                                                    6
18-13648-smb         Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42            Main Document
                                            Pg 7 of 24


                7.      The Debtors’ Chapter 11 Cases have been jointly administered for

 procedural purposes only pursuant to Bankruptcy Rule 1015(b).

                8.      Additional information regarding the Debtors’ business, capital structure,

 and the circumstances leading to the commencement of these Chapter 11 Cases is set forth in the

 Declaration of Todd K. Wolynski Pursuant to L. Bankr. R. 1007-2 (the “Wolynski Declaration”)

 and the Declaration of Robert A. Del Genio in Support of First Day Motions and Applications

 (the “Del Genio Declaration” and, together with the Wolynski Declaration, the “First Day

 Declarations”), which are incorporated herein by reference.

                                    Basis for Relief Requested

                9.      Having devoted their energies to developing, gaining approval of, and

 consummating an intricate sale process that in the past several weeks has resulted in one large

 asset sale and three credit bid purchases for sales of substantially all of the Debtors’ assets, the

 Debtors have pivoted quickly to negotiate and prosecute a chapter 11 plan in order to make

 distributions to their creditors and prepare to wind down their entities under non-bankruptcy law

 in the United States and many other jurisdictions. To this end, on March 20, 2019, the Debtors

 delivered to the agents of certain of their prepetition secured creditors a draft chapter 11 plan.

 The Debtors now seek a modest extension of the Exclusivity Periods to give the Debtors and

 these constituents the time to complete this process in the most cost-effective and value-

 maximizing manner.

                10.     Pursuant to section 1121(d) of the Bankruptcy Code, the Court may extend

 the Exclusive Periods for cause. See 11 U.S.C. § 1121(d) (“on request of a party in interest made

 within the respective periods specified in subsections (b) and (c) of this section and after notice

 and a hearing, the court may for cause reduce or increase the 120-day period or the 180-day



                                                  7
18-13648-smb        Doc 548    Filed 03/25/19 Entered 03/25/19 14:09:42          Main Document
                                            Pg 8 of 24


 period referred to in this section”). However, the 120-day period “may not be extended beyond a

 date that is 18 months after the [commencement] date” and the 180-day period “may not be

 extended beyond a date that is 20 months after the [commencement] date.” Id. § 1121(d)(2).

                 11.     The Exclusive Periods established by Congress were incorporated in the

 Bankruptcy Code to afford a debtor a full and fair opportunity to propose a chapter 11 plan and

 enable solicitation of acceptances of the plan without the deterioration and disruption of a

 debtor’s business that might be caused by the filing of multiple competing plans. Indeed, the

 primary objective of a chapter 11 case is the formulation, confirmation, and consummation of a

 consensual chapter 11 plan. The Debtors expect to achieve this objective. To terminate the

 Exclusive Periods in these Chapter 11 Cases before the Debtors have had a meaningful

 opportunity to advance substantive plan negotiations and develop a workable plan proposal

 would defeat the very purpose of section 1121 of the Bankruptcy Code.

                 12.     As stated, section 1121(d) of the Bankruptcy Code empowers a

 Bankruptcy Court to extend the Exclusive Periods “for cause.” The Bankruptcy Code neither

 defines the term “cause” for purposes of section 1121(d) nor establishes formal criteria for an

 extension. The legislative history of section 1121 indicates, however, that it is intended to be a

 flexible standard to balance the competing interests of a debtor and its creditors. See H.R. Rep.

 No. 95-595, at 231-32 (1978), reprinted in 1978 U.S.C.C.A.N. 5963 (noting that Congress

 intended to give Bankruptcy Courts great flexibility to protect a debtor’s interests by allowing a

 debtor unimpeded opportunity to negotiate settlement of debts without interference from other

 parties in interest).

                 13.     In exercising its broad discretion, the Bankruptcy Court may consider a

 variety of factors to assess the totality of circumstances in each case. See In re Borders Grp.,



                                                 8
18-13648-smb      Doc 548     Filed 03/25/19 Entered 03/25/19 14:09:42            Main Document
                                           Pg 9 of 24


 Inc., 460 B.R. 818, 821−22 (Bankr. S.D.N.Y. 2011) (“The determination of cause under section

 1121(d) is a fact-specific inquiry and the court has broad discretion in extending or terminating

 exclusivity.”); In re Adelphia Commc’ns Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006)

 (identifying objective factors courts historically have considered in determining whether cause

 exists to extend or terminate exclusivity); see also In re McLean Indus., Inc., 87 B.R. 830, 834

 (Bankr. S.D.N.Y. 1987) (identifying factors used by courts to determine whether cause exists to

 extend exclusivity); In re Dow Corning Corp., 208 B.R. 661, 664 (Bankr. E.D. Mich. 1997); In

 re Express One Int’l, Inc., 194 B.R. 98 (Bankr. E.D. Tex. 1996). Those factors include, without

 limitation:

                       (a)    the size and complexity of the debtor’s case;

                       (b)    the necessity for sufficient time to permit the debtor to negotiate a
                              chapter 11 plan and prepare adequate information;

                       (c)    the existence of good faith progress towards reorganization;

                       (d)    the fact that the debtor is paying its bills as they become due;

                       (e)    whether the debtor has demonstrated reasonable prospects for
                              filing a viable plan;

                       (f)    whether the debtor has made progress in negotiations with its
                              creditors;

                       (g)    the amount of time which has elapsed in the case;

                       (h)    whether the debtor is seeking an extension of exclusivity in order
                              to pressure creditors to submit to the debtor’s reorganization
                              demands; and

                       (i)    whether an unresolved contingency exists.

 Adelphia Commc’ns, 352 B.R. at 587 (noting that the nine factors listed above are “objective

 factors which courts historically have considered in making determinations of this character”);

 see also Borders, 460 B.R. at 822 (evaluating the nine factors set forth in Adelphia to hold that

                                                9
18-13648-smb       Doc 548     Filed 03/25/19 Entered 03/25/19 14:09:42            Main Document
                                            Pg 10 of 24


 debtor established cause to extend exclusivity); McLean Indus., 87 B.R. at 834; accord In re

 Express One, 194 B.R. at 100 (identifying all of the nine factors as relevant in determining

 whether cause exists to extend exclusivity); In re United Press Int’l, Inc., 60 B.R. 265, 269

 (Bankr. D.C. 1986) (holding that debtor showed cause to extend exclusive period based upon

 certain of the nine factors). The exercise of the Court’s discretion is not simply a check-off

 process, but is based upon the totality of the circumstances. The above factors are not the

 exclusive bases for the exercise of the Court’s discretion to extend the exclusive periods.

                        Cause Exists for Extending the Exclusive Periods

                14.     Application of the identified standards to the facts of these Chapter 11

 Cases demonstrates that ample cause exists to grant the Debtors’ requested extensions of the

 Exclusive Periods. The extensions are necessary and appropriate in order for the Debtors to have

 the opportunity contemplated by the Bankruptcy Code to propose a chapter 11 plan and solicit

 acceptances of such plan.

    A.      The Debtors’ Chapter 11 Cases Are Large and Complex

                15.     Both Congress and the courts have recognized that the size and

 complexity of a debtor’s case alone may constitute cause for the extension of the Exclusive

 Filing Period. “[I]f an unusually large company were to seek reorganization under chapter 11,

 the court would probably need to extend the time in order to allow the debtor to reach an

 agreement.” H.R. Rep. No. 95-595, at 232 (1978), reprinted in 1978 U.S.C.C.A.N. 5963. In In

 re Texaco Inc., the court stated:

                The large size of a debtor and the consequent difficulty in
                formulating a plan . . . for a huge debtor with a complex financial
                structure are important factors which generally constitute cause for
                extending the exclusivity periods.

 76 B.R. 322, 326 (Bankr. S.D.N.Y. 1987).


                                                 10
18-13648-smb      Doc 548     Filed 03/25/19 Entered 03/25/19 14:09:42            Main Document
                                           Pg 11 of 24


                16.    The size and complexity of these Chapter 11 Cases warrant an extension

 of the Exclusive Periods.        These Chapter 11 Cases involves over 100 Debtors with

 approximately $1.62 billion in assets and $1.23 billion in liabilities as of October 31, 2018. At

 the time of filing, the Debtors’ complicated capital structure involved nine (9) separate debt

 facilities with a total of twenty-four (24) lenders. As the Court previously observed, “this is

 really like nine cases . . .”. Hr’g Tr. (Dec. 20, 2018) at 69:6-7. Indeed, the size and complexity

 of the Debtors’ businesses, assets, corporate structure, and financing arrangements are self-

 evident.

                17.    Additionally, because of the large size of the Debtors’ operations and

 business relationships and the relatively small size of the Debtors’ workforce, the Debtors

 received an extension of time, until March 31, 2019, to file their respective schedules of assets

 and liabilities, schedules of executory contracts and unexpired leases, and statements of financial

 affairs (collectively, the “Schedules”). As a consequence, it was necessary to defer the setting of

 a bar date for filing proofs of claim. The Debtors have filed a motion seeking the establishment

 of a bar date [ECF No. 498] (the “Bar Date Motion”), to which no one objected and which is

 scheduled to be heard on March 28, 2019.

                18.    In cases of the size and complexity of the Debtors, 120 days simply is

 inadequate to formulate and negotiate a chapter 11 plan. The Debtors’ Chapter 11 Cases are

 indisputably of the size and complexity that Congress and Courts recognized warranting

 extensions of the Exclusive Periods as requested. Courts in this District regularly extend the

 Exclusivity Periods in similar cases. See e.g., In re Breitburn Energy Partners LP, Case No. 16-

 11390 (Bankr. S.D.N.Y. Dec. 14, 2016); In re AOG Entm’t, Inc., Case No. 16-11090 (Bankr.

 S.D.N.Y. Sep. 2, 2016) (ECF No. 357); In re SunEdison, Case No. 16-10992 (Bankr. S.D.N.Y.



                                                 11
18-13648-smb      Doc 548         Filed 03/25/19 Entered 03/25/19 14:09:42          Main Document
                                               Pg 12 of 24


 July 21, 2016) (ECF No. 970); In re Relativity Fashion, LLC, Case No. 15-11989 (Bankr.

 S.D.N.Y. Nov. 12, 2015) (ECF No. 967); In re Tronox Inc., Case No. 09-10156 (Bankr.

 S.D.N.Y. May 8, 2009) (ECF No. 414).

    B.      The Debtors Have Made Substantial Good Faith Progress In These Chapter 11
            Cases

                19.         This is the Debtors’ first motion for extension of the Exclusive Periods.

 The Debtors are only four months into these Chapter 11 Cases, which is not enough time to

 formulate and prosecute a chapter 11 plan in most chapter 11 cases, and definitely not enough

 time here considering the size and complexity of these cases as described above and in light of

 all that the Debtors have accomplished in such a short period of time.

                20.         Notwithstanding the short duration of these cases, the Debtors have made

 substantial progress in the first few months of these Chapter 11 Cases, warranting an extension

 of the Exclusive Periods. At the outset of these cases, the Debtors focused on operating their

 businesses and responding to the time-consuming demands that inevitably accompany a chapter

 11 filing. Most importantly, the Debtors coordinated and executed a robust marketing and sale

 process that resulted in a series of going concern sales of substantially all of the Debtors’ assets.

 This Court recognized the importance of prioritizing and expediting that sale process, to mitigate

 any potential destruction of value and maximize resulting recoveries to creditors. See Hr’g Tr.

 (Dec. 20, 2018) at 138:20-24. In addition, while continuing the day-to-day management of the

 company, the Debtors’ management and advisors devoted substantial time and effort over the

 first four months of the cases to ensure the business operated as a going concern and to comply

 with the requirements of chapter 11, including:

                      (a)       stabilizing operations and smoothly transitioning into chapter 11 by
                                obtaining relief on a final basis for numerous “first day” motions,
                                including receiving crucial authority to pay certain lien claimant

                                                    12
18-13648-smb     Doc 548         Filed 03/25/19 Entered 03/25/19 14:09:42            Main Document
                                              Pg 13 of 24


                               vendors, pay prepetition taxes, honor wages, salaries, and benefits in
                               the ordinary course of business, and maintain their existing cash
                               management system;

                     (b)       negotiating and obtaining final approval of the Debtors’ debtor-in-
                               possession financing facility;

                     (c)       negotiating and obtaining final approval of a key employee incentive
                               plan;

                     (d)       retaining professionals to assist in the Debtors’ Chapter 11 Cases
                               including investment bankers, accountants, special counsel, as well as
                               numerous ordinary course professionals to ensure the Debtors’
                               operations were not disrupted; and

                     (e)       compiling their schedules of assets and liabilities and statements of
                               financial affairs, which required review and analysis of claims, assets,
                               and contracts for more than fifty Debtor entities.

               21.         As mentioned above, immediately upon closing the asset sales, the

 Debtors and their advisors turned their attention to developing a chapter 11 plan of liquidation

 and have already begun negotiating this with their prepetition lenders.            The Debtors are

 committed to try to reach agreement with these creditors on a consensual plan that can be

 confirmed and implemented quickly, so the Debtors can complete distributions to creditors and

 begin the global wind down process.

               22.         The foregoing demonstrates that there can be no doubt that the Debtors

 have acted diligently to make progress on a number of fronts during the initial months of these

 Chapter 11 Cases, and will continue to do so as they transition to the plan phase. This is ample

 cause to extend the Exclusive Periods under multiple Adelphia Factors.

    C.      The Debtors Are Making and Will Continue to Make Required Postpetition
            Administrative Expense Payments as They Come Due

               23.         Courts considering an extension of the Exclusive Periods may also assess

 a debtor’s liquidity and solvency. See In re Adelphia Commc’ns, 352 B.R. at 587-88. Here, the


                                                   13
18-13648-smb        Doc 548    Filed 03/25/19 Entered 03/25/19 14:09:42             Main Document
                                            Pg 14 of 24


 Debtors are current on payment of their postpetition obligations and have sufficient liquidity to

 pay their undisputed administrative expenses in the ordinary course. As such, the requested

 extension of the Exclusive Periods will not prejudice the legitimate interests of creditors, and this

 factor weighs in favor of allowing the Debtors to extend the Exclusive Periods.

    D.         The Debtors Are Not Using Exclusivity to Pressure Creditors

                  24.    This is the Debtors’ first request for an extension of the Exclusive Periods.

 The requested extension is reasonable given the Debtors’ progress to date and the current posture

 of these Chapter 11 Cases. The Debtors are not seeking the extension of the Exclusive Periods

 as a negotiation tactic, to artificially delay the conclusion of these Chapter 11 Cases, or to hold

 creditors hostage to an unsatisfactory plan proposal. To the contrary, this request is intended to

 maintain a framework conducive to an orderly, cost-effective, and ideally consensual process.

 The Debtors delivered a draft of a proposed chapter 11 plan on March 20, 2019 to the WAC

 Lender agents and are optimistic that they will be able to reach agreement with many, if not all,

 of their lenders in short order. Extending the Exclusivity Periods serves to allow the Debtors and

 their professionals to work cooperatively with these key constituents to continue to move

 towards the conclusion of the Chapter 11 Cases without the Debtors’ efforts being disrupted by

 defending against competing plans.

                  25.    Furthermore, throughout these cases, the Debtors have kept sight of the

 need to deal with all parties in interest. The Debtors and their professionals have consistently

 conferred with the various lender groups on all major substantive and administrative matters in

 these cases to date. The Debtors have no intention of discontinuing this dialogue if this Motion

 is granted.




                                                  14
18-13648-smb       Doc 548      Filed 03/25/19 Entered 03/25/19 14:09:42          Main Document
                                             Pg 15 of 24


     E.      Important Contingencies Must Be Resolved by the Debtors

                 26.     Courts have recognized, as a justification for extending the Exclusivity

 Periods, the need to resolve an important contingency. See, e.g., Adelphia Commc’ns, 352 B.R.

 at 587-88. As indicated above, the Debtors have made substantial progress in the prosecution of

 their Chapter 11 Cases. They do, however, require additional time in which to propose and

 solicit a confirmable chapter 11 plan as the Debtors continue to address certain key issues.

                 27.     The Debtors’ finalization of the sale process has only now created

 opportunities for the Debtors to focus on a process by which to wind down the Debtors’ estates,

 both in this jurisdiction and abroad, and to work with their key constituencies to develop a path

 out of chapter 11 that will maximize value and have the support of the Debtors’ creditors. The

 Debtors and their advisors are in the midst of developing such a wind down plan, but require

 additional time finalize it.

                 28.     Additionally, the proposed claims bar date has not yet passed, and parties

 in interest do not therefore know the full universe of asserted claims. The Debtors—or any plan

 proponent—will need to go through at least an initial cut of the claims reconciliation process

 before they can achieve a better understanding of the claims pool. Accordingly, important

 contingencies exist in these cases that must be resolved.

                 29.     The extensions of the Exclusive Periods as requested will not prejudice

 any party in interest, but rather will afford the Debtors a realistic opportunity to propose a

 feasible and consensual chapter 11 plan. Failure to extend the Exclusive Periods as requested

 herein would defeat the very purpose of section 1121 of the Bankruptcy Code, i.e., to provide the

 Debtors with a meaningful and reasonable opportunity to negotiate with their economic

 stakeholders and propose a confirmable chapter 11 plan. The termination of the Exclusive



                                                 15
18-13648-smb      Doc 548      Filed 03/25/19 Entered 03/25/19 14:09:42             Main Document
                                            Pg 16 of 24


 Periods and the threat of multiple plans would lead to unnecessary adversarial situations and

 deterioration in value of the Debtors’ estates to the detriment of all parties in interest. The Court

 should not permit such a scenario to unfold.

    F.      The Automatic Extension of the Exclusive Filing Period

                30.     The Exclusive Filing Period is set to expire on March 25, 2019, but Local

 Bankruptcy Rule 9006-2 provides that if a motion to extend time to take an action is filed prior to

 the expiration of such period, with a return date that is no later than fourteen days after the date

 of the filing of the motion or, “if the Court is unable to schedule a return date within such period,

 as soon thereafter as the return date may be scheduled by the Court,” the applicable deadline

 shall automatically be extended “until the Court resolves the motion to extend the time.” By

 filing this Motion prior to the expiration of the Exclusive Filing Period, Local Bankruptcy Rule

 9006-2 automatically extends the Exclusive Filing Period until the Court resolves the Motion.

                31.     In light of the foregoing, the Debtors respectfully request that the Court

 approve the requested extensions of the Exclusive Periods pursuant to section 1121(d) of the

 Bankruptcy Code.

                                                Notice

                32.     Notice of this Motion has been provided to all parties in interest in

 accordance with the procedures set forth in the Final Order Pursuant to 11 U.S.C. §105(a) and

 Fed. R. Bankr. P. 1015(c), 2002(m), and 9007 Implementing Certain Notice and Case

 Management Procedures [ECF No. 155]. The Debtors submit that, in view of the facts and

 circumstances, such notice is sufficient and no other or further notice need be provided.

                33.     No previous request for the relief sought by this Motion has been made by

 the Debtors to this or any other Court.



                                                  16
18-13648-smb       Doc 548     Filed 03/25/19 Entered 03/25/19 14:09:42               Main Document
                                            Pg 17 of 24


                WHEREFORE the Debtors respectfully request entry of the Proposed Order

 granting the relief requested herein and such other and further relief as is just.

 Dated: March 25, 2019
        New York, New York

                                                 /s/ Kelly DiBlasi
                                                 WEIL, GOTSHAL & MANGES LLP
                                                 767 Fifth Avenue
                                                 New York, New York 10153
                                                 Telephone: (212) 310-8000
                                                 Facsimile: (212) 310-8007
                                                 Gary T. Holtzer
                                                 Robert J. Lemons
                                                 Kelly DiBlasi

                                                 Attorneys for Debtors
                                                 and Debtors in Possession




                                                   17
18-13648-smb   Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42   Main Document
                                      Pg 18 of 24



                                    Exhibit A

                                  List of Debtors
18-13648-smb      Doc 548    Filed 03/25/19 Entered 03/25/19 14:09:42         Main Document
                                          Pg 19 of 24


                                    Last 4                                         Last 4
                                   Digits of                                      Digits of
              Debtor                                       Debtor
                                   Tax ID                                         Tax ID
                                   Number                                         Number

 Waypoint Leasing Holdings Ltd.      2899      MSN 760682 Trust                     N/A

 Waypoint Leasing (Luxembourg)       7041      MSN 920022 Trust                     N/A
 S.à r.l.
 Waypoint Leasing (Ireland)          6600      MSN 920062 Trust                     N/A
 Limited
 Waypoint Asset Co 10 Limited        2503      MSN 920125 Trust                     N/A

 MSN 2826 Trust                      N/A       MSN 9229 AS                         7652

 MSN 2879 Trust                      N/A       Waypoint Asset Co 3A Limited        6687

 Waypoint Asset Co 11 Limited        3073      MSN 41371 Trust                      N/A

 MSN 2905 Trust                      N/A       Waypoint Asset Euro 1A Limited      9804

 Waypoint Asset Co 14 Limited        1585      MSN 4466 Trust                       N/A

 Waypoint Asset Co 15 Limited        1776      MSN 4469 Trust                       N/A

 Waypoint Asset Co 3 Limited         3471      MSN 6655 Trust                       N/A

 AE Helicopter (5) Limited           N/A       Waypoint Leasing (Luxembourg)       8928
                                               Euro S.à r.l.
 AE Helicopter (6) Limited           N/A       Waypoint Asset Co 1A Limited        1208

 MSN 31141 Trust                     N/A       Waypoint Leasing Labuan 1A          2299
                                               Limited
 MSN 31492 Trust                     N/A       Waypoint Asset Co 1C Limited        0827

 MSN 36458 Trust                     N/A       Waypoint Asset Co 1D Limited        7018

 MSN 760543 Trust                    N/A       Waypoint Asset Co 1F Limited        6345

 MSN 760551 Trust                    N/A       Waypoint Asset Co 1G Limited        6494

 MSN 760581 Trust                    N/A       Waypoint Asset Co 1H Limited        7349

 MSN 760628 Trust                    N/A       Waypoint Asset Co 1J Limited        7729

 MSN 760631 Trust                    N/A       MSN 20159 Trust                      N/A
18-13648-smb      Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42      Main Document
                                         Pg 20 of 24


 MSN 6658 Trust                     N/A     Waypoint Asset Funding 6 LLC       4964

 Waypoint 760626 Business Trust     N/A     Waypoint Asset Co 7 Limited        9689

 MSN 7152 Trust                     N/A     Waypoint Asset Euro 7A Limited     2406

 MSN 7172 Trust                     N/A     Waypoint Asset Co 8 Limited        2532

 Waypoint Asset Funding 3 LLC       4960    MSN 31041 Trust                    N/A

 Waypoint Asset Malta Ltd           5348    MSN 31203 Trust                    N/A

 Waypoint Leasing Labuan 3A         8120    MSN 31578 Trust                    N/A
 Limited
 Waypoint Leasing UK 3A Limited     0702    MSN 760617 Trust                   N/A

 Waypoint Asset Co 4 Limited        0301    MSN 760624 Trust                   N/A

 Waypoint Asset Co 5 Limited        7128    MSN 760626 Trust                   N/A

 MSN 1251 Trust                     N/A     MSN 760765 Trust                   N/A

 MSN 14786 Trust                    N/A     MSN 920063 Trust                   N/A

 MSN 2047 Trust                     N/A     MSN 920112 Trust                   N/A

 MSN 2057 Trust                     N/A     Waypoint 206 Trust                 N/A

 Waypoint Asset Co 5B Limited       2242    Waypoint 407 Trust                 N/A

 Waypoint Leasing UK 5A Limited     1970    Waypoint Asset Euro 1B Limited     3512

 Waypoint Asset Co 6 Limited        8790    Waypoint Asset Euro 1C Limited     1060

 MSN 31042 Trust                    N/A     MSN 20012 Trust                    N/A

 MSN 31295 Trust                    N/A     MSN 20022 Trust                    N/A

 MSN 31308 Trust                    N/A     MSN 20025 Trust                    N/A

 MSN 920119 Trust                   N/A     MSN 920113 Trust                   N/A

 Waypoint Asset Funding 8 LLC       4776    Waypoint Asset Co Germany          5557
                                            Limited
 Waypoint Leasing UK 8A Limited     2906    MSN 31046 Trust                    N/A

 Waypoint Leasing US 8A LLC         8080    MSN 41511 Trust                    N/A


                                           2
18-13648-smb    Doc 548    Filed 03/25/19 Entered 03/25/19 14:09:42   Main Document
                                        Pg 21 of 24


 Waypoint Asset Company            6861    MSN 760608 Trust                N/A
 Number 1 (Ireland) Limited
 Waypoint Asset Euro 1D Limited    1360    MSN 89007 Trust                 N/A

 Waypoint Asset Co 1L Limited      2360    MSN 920141 Trust                N/A

 Waypoint Asset Co 1M Limited      5855    MSN 920152 Trust                N/A

 Waypoint Asset Co 1N Limited      3701    MSN 920153 Trust                N/A

 Waypoint Asset Euro 1G Limited    4786    MSN 920273 Trust                N/A

 Waypoint Asset Funding 1 LLC      7392    MSN 920281 Trust                N/A

 Waypoint Leasing UK 1B Limited    0592    MSN 9205 Trust                  N/A

 Waypoint Leasing UK 1C Limited    0840    MSN 9229 Trust                  N/A

 Waypoint Asset Company            7847    MSN 920030 Trust                N/A
 Number 2 (Ireland) Limited
 Waypoint 2916 Business Trust      N/A     Waypoint Asset Funding 2 LLC    7783

 MSN 31431 Trust                   N/A     Waypoint Asset Co 1K Limited    2087

 MSN 760734 Trust                  N/A     Waypoint Leasing Services LLC   8965

 MSN 920024 Trust                  N/A




                                          3
18-13648-smb   Doc 548   Filed 03/25/19 Entered 03/25/19 14:09:42   Main Document
                                      Pg 22 of 24



                                    Exhibit B

                                 Proposed Order
18-13648-smb         Doc 548        Filed 03/25/19 Entered 03/25/19 14:09:42                    Main Document
                                                 Pg 23 of 24


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 --------------------------------------------------------x
                                                         :
 In re                                                   :      Chapter 11
                                                         :
 WAYPOINT LEASING                                        :      Case No. 18-13648 (SMB)
 HOLDINGS LTD., et al.,                                  :
                                                         :      (Jointly Administered)
                   Debtors.                              :
 --------------------------------------------------------x

                                 ORDER PURSUANT TO 11 U.S.C.
                           § 1121(d) EXTENDING EXCLUSIVE PERIODS

                  Upon the Motion, dated March 25, 2019 (the “Motion”), 1 of Waypoint Leasing

 Holdings Ltd. and certain of its subsidiaries and affiliates, as debtors and debtors in possession

 (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

 pursuant to section 1121(d) of title 11 of the United States Code (the “Bankruptcy Code”), for

 entry of an order extending the Debtors’ exclusive periods in which to file a chapter 11 plan

 (the “Exclusive Filing Period”) and solicit acceptances thereof (the “Exclusive Solicitation

 Period,” and together with the Exclusive Filing Period, the “Exclusive Periods”), all as more

 fully described in the Motion; and the Court having jurisdiction to consider the Motion and the

 relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and Amended Standing

 Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and consideration of the

 Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b);

 and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

 proper notice of the Motion having been provided, and it appearing that no other or further notice

 need be provided; and a hearing having been held to consider the relief requested in the Motion

 1
   Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such terms in
 the Motion.
18-13648-smb       Doc 548      Filed 03/25/19 Entered 03/25/19 14:09:42              Main Document
                                             Pg 24 of 24


 (the “Hearing”); and upon the record of the Hearing and all of the proceedings had before the

 Court; and the Court having found and determined that the relief sought in the Motion is in the

 best interests of the Debtors, their estates, creditors, and all parties in interest, and that the legal

 and factual bases set forth in the Motion establish just cause for the relief granted herein; and

 after due deliberation and sufficient cause appearing therefor, it is

                 ORDERED that the Motion is granted as provided herein; and it is further

                 ORDERED that, pursuant to section 1121(d) of the Bankruptcy Code, the

 Debtors’ Exclusive Filing Period in which to file a chapter 11 plan is extended to and including

 May 9, 2019; and it is further

                 ORDERED that, pursuant to section 1121(d) of the Bankruptcy Code, the

 Debtors’ Exclusive Solicitation Period in which to solicit acceptances of their chapter 11 plan is

 extended to and including July 8, 2019; and it is further

                 ORDERED that the extensions of the Exclusive Periods granted herein are

 without prejudice to such further requests that may be made pursuant to section 1121(d) of the

 Bankruptcy Code by the Debtors or any party in interest, for cause shown, upon notice and a

 hearing; and it is further

                 ORDERED that this Court shall retain jurisdiction to hear and determine all

 matters arising from or related to this Order.

 Dated: _____________, 2019
        New York, New York

                                                  HONORABLE STUART M. BERNSTEIN
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                    2
